Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 1 of 33 PageID #: 11




     EXHIBIT B




                                     9
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 2 of 33 PageID #: 12




                                                                                   Lynne Finley
                                                                                   District Clerk
                                                               2100 Bloomdale Road, Suite 12132
                       COLLIN COUNTY                                    McKinney, Texas 75071
                                                                                (972) 548-4320
                                                                 972-424-1460 Ext. 4320 (Metro)


                                       CASE NO: 429-01028-2022

                                 Certified Copy Verification (Electronic)



BKL Holdings, Inc. vs. Globe Life Inc., American                                In the 429th District Court
Income Life Insurance Company, Liberty National
Life Insurance Company, Family Heritage Life
Insurance Company of America, James E "Bo"
Gentile, Jr., and David Zophin
                                                                                   Of Collin County, Texas


STATE OF TEXAS
COUNTY OF COLLIN



I, Lynne Finley, District Clerk in and for Collin County, Texas, do hereby certify that the attached
document is a true and correct copy of the original document as the same appears on file in the District
Court, Collin County, Texas. Witness my hand and seal of said Court, on this the 3rd day of March, 2022.



                                                                       ATTEST: Lynne Finley, District Clerk



                                                    By: ________________________________, Deputy
                                                                    Lana Sikes
                                                3/3/2022 SCANNED Page 1
    Case 4:22-cv-00170-ALM Document DOCKET
                                    1-3 Filed
                                           SHEET03/03/22 Page 3 of 33 PageID #: 13                              t



                                                  DOCKET SHEET
                                                CASE N0. 429-01028-2022
  BKL Holdings, Inc. vs. Globe Life Inc.. American Income        §                  Location: 429th District Court
 Life Insurance Com pany, Liberty National Life Insurance        §           Judicial Ofcer:   Willis, Jill Renfro
 Com pany, Family Heritage Life Insurance Company of             §                   Filed on: 03/02/2022
 America, James E "Bo" Gentile, Jr-., and David                  §
 Zaphin

                                                        C m: INFORMATION

                                                                                 Case Type:   All Other Civil Cases


     DATE                                               C \Sl—E ASSIGNMENT

                 Current Case Assignment
                 Case Number                       429-0] 028—2022
                 Court                             429th District Coun
                 Date Assigned                     03/02/2022
                 Judicial Ofcer                    Willis. Jill Renfro



                                                      PAR l'I‘ INFORMATION
                                                                                                     Lead A Homers
Plaintiff           BKL. Holdings, lne.                                                                   Winn, Richard W
                                                                                                                   Retained
                                                                                                           972-788- l 400(W)

Defendant           American Income Life Insurance Com pany
                                                                                                                      Pro Sc

                    Family Heritage Life Insurance Com pany of America
                                                                                                                      Pro Se

                    Gentile. James E "Bo", Jr.
                                                                                                                      Pro Se

                    Globe Life Inc.
                                                                                                                      Pro Se

                    Liberty National Life Insurance Company
                                                                                                                      Pro Se

                    Zophin. David
                                                                                                                      Pro Se
                                                                                                 h




   DATE                                        EVENTS ts. ORDERS or Tur. Coum'                                ham
(’3’02’2022
                  Plaintiff's Original Petition (OCA) $371 .00
                 Party: Plaintiff'- BKL Holdings. lnc.

03/02/2022
               Q Request for Citation $8.00                                                                                    i




 03/02/2022       Citation
                       Globe Lire inc.                       unserved

                       American Income Life Insurance        unsaved
                  Company
                                                                                          '
                     Liberty National Life insurance         unservcd'
                  Company

                   E   Family Heritage Life Insurance
                                                             unserved



                                                             PAGE l 0F 2                                    Primed on 03/03/2022 a! 8:00 AM
Case 4:22-cv-00170-ALM Document DOCKET
                                1-3 Filed  03/03/22 Page 4 of 33 PageID #: 14
                                       SHEET
                                          DOCKET SHEET
                                        CASE N0. 429-01028-2022
          Company of America
           Q Gentile, James E “Bo", Jr.          unserved

                Zophin, bavid                    unservcd




DATE        .                                   FIN ANC l.-\ L IN FORMATION

         Plaintiff BKL Holdings. Inc.
                                            '
         Total Charges                                                                  4 19.00
         Total Payments and Credits                                                     4 19.00
         Balance Due as of 31312022                                                       0.00




                                                 PAGE 2 OF 2                  Printed on 03/03/2022 aI 8:00 AM
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 5 of  333/2/2022
                                                          Filed:  PageID 3:12 #:
                                                                              PM 15
                                                                        Lynne Finley
                                                                        District Clerk
                                                                        Collin County, Texas
                                        429-01028-2022                  By Rosanne Munoz Deputy
                                                                        Envelope ID: 62233387
                               CAUSE NO. ___________

BKL HOLDINGS, INC. D/B/A LICENSE                  IN THE DISTRICT COURT
COACH

       Plaintiff,

v.                                                COLLIN COUNTY, TEXAS

GLOBE LIFE INC.; AMERICAN
INCOME LIFE INSURANCE
COMPANY; LIBERTY NATIONAL LIFE
INSURANCE COMPANY; FAMILY                         _____ JUDICIAL DISTRICT
HERITAGE LIFE INSURANCE
COMPANY OF AMERICA; JAMES “BO”
E. GENTILE, JR.; and DAVID ZOPHIN.

       Defendants.

                        PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff BKL Holdings, Inc. doing business as License Coach

(“License Coach”), and files this its Plaintiff’s Original Petition in the above-entitled and

numbered cause, complaining of and against Defendants Globe Life Inc. (“Globe Life”),

American Income Life Insurance Company (“American Income Life”), Liberty National

Life Insurance Company (“Liberty National Life”), Family Heritage Life Insurance

Company of America (“Family Heritage Life”), James “Bo” Gentile, Jr. (“Gentile”) and

David Zophin (“Zophin”) (sometimes collectively referred to herein as “Defendants”), and

in support thereof would respectfully show the Court as follows:

                            DISCOVERY CONTROL PLAN

       1.     Pursuant to Texas Rule of Civil Procedure 190.4, discovery is intended to be

conducted in this case under Level 3.




PLAINTIFF’S ORIGINAL PETITION                                                                     1
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 6 of 33 PageID #: 16




                                  THE PARTIES

      2.     Plaintiff BKL Holdings, Inc., doing business as License Coach is a

corporation organized and existing under the laws of the State of Louisiana.

      3.     Defendant Globe Life Inc (formerly known as Torchmark Corporation

through on or about August 8, 2019 when the corporation changed its name to Globe Life

Inc) is a corporation organized and existing under the laws of the State of Delaware, and

authorized by the Texas Department of Insurance to transact business in Texas, with its

principal offices located at 3700 South Stonebridge Drive, McKinney, Collin County,

Texas and which may be served with citation in this cause by serving its registered agent

C.T. Corporation System at its registered office located at 1999 Bryan St., Suite 900,

Dallas, Dallas County, Texas 75201-3136.

      4.     Defendant American Income Life Insurance Company is a

corporation organized and existing under the laws of the State of Indiana, and authorized

by the Texas Department of Insurance to transact business in Texas, with its principal

place of business located at 1200 Wooded Acres, Waco, McLennan County, Texas 79710

and which may be served with citation by serving its registered agent Joel Scarborough at

its registered office located at 1200 Wooded Acres Drive, Waco, McLennan County, Texas

76799-0001. American Income Life Insurance Company is a wholly owned subsidiary of

Globe Life Inc.

      5.     Defendant Liberty National Life Insurance Company is a corporation

organized and existing under the laws of the State of Nebraska, and authorized by the

Texas Department of Insurance to transact business in Texas, with its principal place of

business located in at 3700 S. Stonebridge Drive, McKinney, Collin County, Texas 75070,

and which may be served with citation by serving its registered agent Michael R. Perkins

PLAINTIFF’S ORIGINAL PETITION                                                          2
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 7 of 33 PageID #: 17




at its registered office located at 900 Congress Avenue, Suite 300, Austin, Travis County,

Texas 78701-2432.

       6.     Defendant Family Heritage Life Insurance Company of America is

a corporation organized and existing under the laws of the State of Ohio, and authorized

by the Texas Department of Insurance to transact business in Texas, with its principal

place of business located in at 3700 S. Stonebridge Drive, McKinney, Collin County, Texas

75070, and which may be served with citation by serving its registered agent, CT

Corporation at its registered office located at 1999 Bryan St. Suite 900, Dallas, Texas

75201-3136.

       7.     Defendant James “Bo” E. Gentile, Jr. is an individual who may be

served with citation by serving him at his residential address located at 1600 Landon

Lane, McKinney, Collin County, Texas 75071-7658. Gentile is Senior Vice President of

Recruiting for the Globe Life divisions.

       8.     Defendant David Zophin is an individual who may be served with citation

by serving him at his residential address located at 12594 Blitz Drive, Frisco, Collin

County, Texas. Zophin is President of American Income Life.

                                STATEMENT OF CLAIM

       9.     Plaintiff seeks recovery of economic damages of more than $1,000,000.00.

                             JURISDICTION AND VENUE

       10.    The Court has jurisdiction over Defendants because the amount in

controversy falls within the jurisdictional limits of this Court.

       11.    Venue is proper in this Court because all or a substantial part of the events

or omissions giving rise to License Coach’s causes of action occurred in Collin County,

Texas. Venue is therefore proper in Collin County pursuant to Texas Civil Practice &

PLAINTIFF’S ORIGINAL PETITION                                                            3
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 8 of 33 PageID #: 18




Remedies Code Sec. 15.002(a)(1). Venue is also proper in this Court pursuant to Texas

Civil Practice & Remedies Code Sec. 15.002(a)(3) because the principal offices in Texas of

Globe Life, Liberty National Life and Family Heritage Life are located in Collin County.

Venue is also proper in this Court pursuant to Texas Civil Practice & Remedies Code Sec.

15.002(a)(2) because Defendants Gentile and Zophin are natural persons who reside in

Collin County, Texas. To the extent Plaintiff has established proper venue over one or

more Defendants, venue is also proper in this Court pursuant to Texas Civil Practice &

Remedies Code Sec. 15.005 with respect to the other Defendants in Collin County because

all claims or actions arise out of the same transaction, occurrence, or series of transactions

or occurrences.

                                STATEMENT OF FACTS

       12.    Defendant Globe Life Corporation formerly Torchmark is a holding

company specializing in life and supplemental health insurance for middle income

Americans marketed through multiple distribution channels including direct response,

and exclusive and independent agencies. Globe Life has several nationally recognized

insurance subsidiaries including, without limitation, Globe Life and Accident, American

Income Life, Liberty National Life, United American and Family Heritage. Globe Life

distributes products primarily through exclusive agencies and direct-to-the-consumer

marketing. Globe Life’s sales growth is highly dependent on agent growth.

       13.    Individuals wishing to sell life and/or health insurance products must be

licensed in the state or jurisdiction in which they plan to do business. In order to become

licensed, an applicant must pass an entry level exam testing their knowledge of insurance

concepts, policies, state and federal laws and regulations, and the statutory and ethical

roles and duties of the applicant as an insurance producer. Exams vary by testing provider

PLAINTIFF’S ORIGINAL PETITION                                                               4
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 9 of 33 PageID #: 19




and state or jurisdiction. The License Coach software platform provides the training tools

for an applicant to master the applicable state concepts and familiarize themselves with

the testing format. License Coach provides a life, health or a combination of both life and

health insurance courses in all states and jurisdictions. The courses are designed using

each jurisdiction’s specific requirements with a content outline, ensuring complete

coverage of all testable information. The state of the art delivery presentation, dynamic

user experience and interactive tools of License Coach ensure success for every

individual’s learning level and style. Each applicant has immediate access to, among other

things: a) an online study manual including study guides and recommendations; b)

industry leading streaming video; c) unlimited chapter quizzes, online flashcards and

printable cram sheets; d) unlimited simulated exams designed specifically for the testing

provider for each specific state or jurisdiction; e) downloadable audio library; f) social

media motivational tools and reward systems including the “Buddy System”               and

“Badges”; g) interactive study plan and calendar; h) student dashboard; i) testing center

hyperlinks; j) state specific exam breakdowns; k) automated certificates of completion;

and l) Spanish language capability. License Coach’s confidential and proprietary system

also includes integrated e-signatures, knowledge base, customer support and government

integrations. License Coach offered customizable Dashboard and Report Layouts to each

of the Torchmark entities which could generate links for News, Summary Matters,

Student Highlights, Leaderboards and a Full Student List. The foregoing confidential and

proprietary information and materials were developed by License Coach only after the

expenditure of considerable time, labor, skill, money and resources over at least ten years

and has given License Coach a valuable economic and competitive advantage in the pre-

licensing testing and training industry.

PLAINTIFF’S ORIGINAL PETITION                                                            5
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 10 of 33 PageID #: 20




        14.     Globe Life employs an exclusive and independent tiered agencies

distribution network and career track which it promotes to applicants interested in

becoming agents and which it describes as the “ladder of success” and “Opportunity

Unlimited”. The “ladder of success” includes several different levels of insurance agents

generally referred to as agents, supervising agents, general agents, Master General Agents

(“MGAs”) and State General Agents (“SGAs”).



Master General Agent
The Master General Agent, or MGA, works with Regional and State General Agents to
build small teams of General Agents, field-train new Agents, and identify potential
candidates for supervising agents or MGA roles.


State General Agent
The State General Agent, or SGA, is the highest level attainable with Globe Life. SGAs
recruit, contract, and train all levels of Agents, and groom them for leadership roles.




The State General Agent(“SGAs”) is the highest level on the “ladder of success” and

according to the representations of Globe Life, a SGA can earn from $500K-$3.5M+

unlimited annual earning potential.

        15.     Globe Life employs a “bait and switch” method1 to recruit agents which is

the lifeblood of insurance companies such as Globe Life. For example, Globe Life’s largest


1 In Joh v. American Income Life Insurance Company, Case No. 18-cv-06364-TSH, 2021 WL 66305

(N. D. Calf Jan. 7, 2021), the Court recently approved a class action settlement in a case wherein the class
alleged: Plaintiffs in this action are former insurance salesperson trainees or agents of American Life
Insurance Company (“AIL”), who trained and worked at locations in California. Plaintiffs allege that as
prospective AIL agents, trainees would undergo training that lasted one week or more without earning a
commission or otherwise being paid. Sec. Am. Compl. (“SAC”) ¶ 18, ECF No. 30. They allege that AIG
promised prospective agents salaried positions, but then hired them as commission-only employees, and
failed to pay or reimburse them while they worked as sales agents. Id. ¶ 42. They allege that as trainees and
agents they were not paid a minimum wage or overtime pay, did not receive proper meal and rest breaks,
and had to pay their own work-related expenses. Id. ¶ 20.

PLAINTIFF’S ORIGINAL PETITION                                                                              6
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 11 of 33 PageID #: 21




distribution channel is American Income Life. The lack of growth in agents selling their

products results in a lack of projected sales growth. Therefore, Globe Life spends millions

to identify potential insurance agents by buying resumes from job websites like

Monster.com. Reportedly, Globe Life brings in 8,000 new recruits a month utilizing this

method. Globe Life then arranges “job interviews” as if these recruits were going to be

employed by Globe Life. However, during the interview process, recruits are informed

that the positions are for commissions only positions. As described above, in order for

such recruits to sell insurance in a particular jurisdiction, such recruits must be licensed

by the applicable state. Globe Life and its SGAs inform the recruit that in order to pass

the state exam, the recruit needs to purchase pre-license training and testing courses from

an approved pre-licensing testing and training vendor. Recruits believe they are being

interviewed for a real job but at the last minute are told that the position is an independent

contractor commission-only position.

       16.    License Coach originally began working with Liberty National Life and

United American, which at the time were divisions of Torchmark, predecessor to Globe

Life. After becoming one of Torchmark’s approved pre-licensing vendors, License Coach

worked closely with Mr. Jay Politi (Senior Vice President of Operations), who oversaw the

national field office, in creating custom reporting and refining trainee progress

monitoring.

       17.    Due to License Coach’s success with Liberty National Life and a few

American Income Life offices, License Coach came to the attention of Mr. Robert Falvo,

the Executive Vice President of American Income Life who directed recruiting and

training and later managed the day-to-day operations of American Income Life. License

Coach began by working in some test markets with Mr. Falvo monitoring License Coach’s

PLAINTIFF’S ORIGINAL PETITION                                                               7
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 12 of 33 PageID #: 22




performance. Mr. Falvo, subsequently, forwarded an email to all American Income Life

SGAs recommending License Coach and stating:

      Some of you on this email are already working with License Coach.com and
      getting great results and some of you are just hearing about them from other
      SGAs. That being said I emailing (sic) you all because I believe they have a
      great product that can help you improve your hire to code ratio properly.

      As SGAs and as a company one of the greatest areas of opportunity we have
      is reducing the Hire to Code Ratio. Same work and effort for INCREASED
      codes and ALP.

      With all on this test we will monitor results for May, June & July and when
      it works like I believe it will we will want to move more and more SGAs to
      this successful system.

Mr. Falvo especially approved of License Coach’s reasonable price of $49 for testing and

training courses since many of the recruits were unemployed and often had very little

disposable income. A higher pre-licensing testing and training cost is a barrier to adding

new insurance agents. License Coach worked closely with Mr. Falvo to meet his goal of

increasing the “Hire to Code Ratio” to “at a minimum 3 to 1 Hire to code ratio” which

means that for every 3 applicants recruited to enroll in the pre-licensing testing and

training, Torchmark would be able to increase agent count by 1.

      18.    License Coach also met with Martin Groves (who at the time was Vice

President of Field Operations for both American Income Life and Liberty National Life)

with the anticipation of adding more SGA offices. License Coach grew quickly starting

with about 70 recruits and finishing with 7500 recruits with American Income Life by the

end of the first year and anticipated further growth in market share during the following

year with both American Income Life and Liberty National Life. The opportunity for

growth was huge, with Mr. Falvo pushing for 10,000 agents.




PLAINTIFF’S ORIGINAL PETITION                                                           8
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 13 of 33 PageID #: 23




       19.    On January 8, 2014, Bo Gentile introduced himself as the new Vice

President of Recruiting for American Income Life and requested information concerning

which SGAs were using License Coach’s services and the number of paid-enrollments per

week. Mr. Gentile wrote that he was putting together a “best practice” which would

include “schools that SGAs can use”. At the same time that Gentile claimed to be “leveling

the playing field” for all training and testing providers, Gentile was strongly promoting

and pressuring the SGA’s to switch to Xcel Testing Solutions, LLC (“Xcel Testing”).

       20.    On November 14, 2014, Gentile notified License Coach that he was Vice

President (of Recruiting) for both American Income Life and Liberty National Life.

Subsequently, Gentile would become Vice President of Recruiting for all Torchmark and,

later, Globe Life Inc’s divisions after its name change.

       21.    In April 2017, Gentile requested that License Coach prepare a presentation

of its systems and technology including its “Key Differentiators” for his consideration. On

April 18, 2017, License Coach forwarded to Gentile the following attachments:

              a)     License Coach Key Differentiators

              b)     Demo Deck-REVISED April 2017

The Course Introduction in the Demo Deck, starting with the initial login, orients and

guides the student through the prelicensing process by a) describing how the system

works, b) introducing the Study Plan and c) providing state specific information and links

to state government and testing center sites. The foregoing documents were tendered to

Gentile with the following Confidentiality Notice:

Confidentiality Notice: This e-mail and any attachments may contain confidential
information intended solely for the use of the addressee. Our LEGAL DEPARTMENT
reminds if the reader of this message is not the intended recipient, any distribution,
copying, or use of this e-mail or its attachments is prohibited. If you received this message


PLAINTIFF’S ORIGINAL PETITION                                                              9
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 14 of 33 PageID #: 24




in error, please notify the sender immediately by e-mail and delete this message and any
copies. Thank you, License Coach.

(the “Confidentiality Notice”)


       22.    Subsequently on May 8, 2017, Gentile further emailed, and had

conversations with License Coach representatives, inquiring whether License Coach had

any interest in bidding for all of Torchmark’s business based on a monthly fee. Gentile

demanded and represented that in order for License Coach to be considered as an

approved pre-licensing vendor a) License Coach must provide Gentile with client lists,

prospective client lists, details concerning License Coach’s business (number of students,

white-labeling2 for websites, recruiting techniques) and software platforms and reports

and b) Torchmark would need access this proprietary, confidential and sensitive

materials and information prior to May 19, 2017 so that he would have time to review

such information and materials prior to Torchmark’s meeting on May 23, 2017. Also on

May 8, 2017, Gentile forwarded License Coach’s “Key Differentiators” to Torchmark’s

management and executives.

       23.    Thereafter Gentile forwarded to the competitors of Xcel Testing, including

License Coach, a Request for Proposal (RFP) to bid on an exclusive pre-licensing training

services for all of Globe Life’s testing and training business.

       24.    On May 19, 2017, License Coach submitted its “Torchmark Proposal” in

response to the RFP. The foregoing Torchmark Proposal was forwarded with the

Confidentiality Notice. License Coach proposed an offer to provide pre-licensing testing



2 “White labeling” occurs when the manufacturer of an item uses the branding requested

by the purchaser, or marketer, instead of its own.


PLAINTIFF’S ORIGINAL PETITION                                                          10
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 15 of 33 PageID #: 25




and training for a maximum of 8,000 students as well as offering to “white label” each

website for each of the separate Torchmark brands for a monthly fee of $50,000 a month.

Pursuant to Gentile’s specific requests and the representations and assurances of

confidentiality made by Gentile during negotiations of the RFP, License Coach shared

proprietary and confidential strategic information concerning License Coach’s software

platform, technology and business systems and operations including customer database,

customer lists, prospective customer lists, marketing strategy and material, pricing

information, building plans, business details (such as monthly enrollment numbers,

website “white labeling”, recruiting techniques etc.), software platforms and reports,

personalized sales team meetings and overtime development and assistance. In addition,

Gentile was given access, by restricted password, to the License Coach website, which

included :    a) an online study manual including guides and recommendations; b)

industry leading streaming video; c) unlimited chapter quizzes, online flashcards and

printable cram sheets; d) unlimited simulated exams designed specifically for the testing

provider for each specific state or jurisdiction; e) downloadable audio library; f) social

media motivational tools and reward systems including the “Buddy System”              and

“Badges”; g) interactive study plan and calendar; h) student dashboard; i) testing center

hyperlinks; j) state specific exam breakdowns; k) automated certificates of completion;

and l) Spanish language capability. License Coach’s confidential and proprietary system

also includes integrated e-signatures, knowledgebase, customer support and government

integrations. License Coach offered customizable Dashboard and Report Layouts to each

of the Torchmark entities which could generate links for News, Summary Matters,

Student Highlights, Leaderboards and a Full Student List



PLAINTIFF’S ORIGINAL PETITION                                                           11
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 16 of 33 PageID #: 26




       25.    License Coach has strict protocols for maintaining and guarding the secrecy

of its confidential and proprietary information and materials including, without

limitation, a) by limiting access to a small subset of employees who may log-in with the

required credentials; b) requiring all employees and contractors working on or with such

material to execute non-disclosure agreements; c) emphasizing the confidential nature of

its business in its hiring process; d) periodically reminding employees of their obligations

to keep confidential and proprietary information secret; e) closing its worksites to the

public; f) password protecting all its computers; g) avoiding communicating details

concerning its material information and materials in communications with clients; and

h) limiting disclosure of confidential and proprietary information and materials to

employees working on such information or materials. All of the foregoing confidential

and proprietary information and materials are contained on password protected

computers and servers and are provided only to those with a business necessity on a need

to know basis.

       26.    Although Gentile had encouraged License Coach to promptly submit its RFP

bid, Defendants suddenly and without any prior notice, ceased all further

communications with License Coach. Gentile never responded or even contacted License

Coach after the submission of the License Coach Proposal.

       27.    License Coach has now learned that Gentile’s abrupt and inexplicable

cessation of negotiations with License Coach was part of a systematic effort by Defendants

to defraud and appropriate the confidential and proprietary information and materials

submitted by License Coach during the RFP process for its own subsequent commercial

use. Strategic proprietary and confidential information contained in the License Coach

Proposal presented to Gentile began to appear in the marketing of Xcel Testing. In

PLAINTIFF’S ORIGINAL PETITION                                                            12
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 17 of 33 PageID #: 27




addition, Xcel Testing adjusted its offerings, pricing and market approach to bolster its

product based on the strategic proprietary and confidential information contained in the

License Coach Proposal, thereby gaining a special commercial advantage (ie free-ride”)

because Xcel Testing was burdened with little or none of the expenses incurred by License

Coach.

         28. Globe Life fraudulently failed to disclose the ownership interests of controlling

persons of Globe Life in Xcel Testing which was intentionally hidden to conceal the

conflicts of interests and violations of governmental regulations and laws, and company

policies including a) Globe Life’s Code of Business Conduct and Ethics3; b) Globe Life’s

Third Party Code of Conduct and c) the disclosure requirements to Globe Life’s own

investors and governmental bodies such as the of the Securities and Exchange

Commission (SEC) and the Departments of Insurance in the 47 jurisdictions in which

Globe Life and Xcel Testing offer testing and training.

         29.      License Coach discovered the facts alleged in the preceding paragraphs on

or about March 3, 2020 as more fully explained below. Previously, on or about August

13, 2018, Greenlight Training, Inc. (Greenlight”) had filed suit against Xcel Testing (only)

as the sole defendant, in New Jersey Superior Court for failing to honor Xcel Testing’s

contractual responsibilities resulting from an Asset Purchase Agreement wherein Xcel

Testing purchased certain assets of Greenlight including insurance pre-licensing testing

and training assets (the “New Jersey Litigation”). However, over 15 months later on or


3
  Globe Life’s Code of Business Conduct and Ethics provides a lengthy prohibition of “conflicts of interest” which
begins “[a] conflict of interest exists whenever an individual’s private interests interfere or conflict in any way (or
even appear to interfere or conflict) with the interests of the Company” and provides examples including a)
“Conflicts of interest may also arise when a director, officer, employee or contractor or member of his or her family
receives improper personal benefits as a result of his or her position with the Company, whether from a third party
or from the Company” and b) “It is almost always a conflict of interest for Company personnel to work simultaneously
for a competitor, customer or service provider. Emphasis added).”

PLAINTIFF’S ORIGINAL PETITION                                                                                       13
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 18 of 33 PageID #: 28




about November 21, 2019, Greenlight filed an amended complaint in which Greenlight

added the owners of Xcel Testing as additional party defendants. The amended complaint

exposed for the first time the true complete list of owners of Xcel Testing. Among the

defendants added in the New Jersey Litigation was Sue Warren Forbis, who is the 83-

year-old mother-in-law of Defendant Gentile, Vice President of Recruiting for all Globe

Life divisions, who, upon information and belief, was the true owner of the interest in Xcel

Testing, which Forbis held only as nominee on behalf of, and for the benefit of Gentile.

Sue Warren Forbis was from Lawton, Oklahoma, with no previous insurance experience.

Another added defendant in the New Jersey Litigation was DCBTKZ Holdings, LLC which

is owned and controlled by Zophin, who is President of American Income Life and former

owner, with Thomas B. Williams, of the Williams Zophin Agency. As more fully discussed

below, these conflicts of interest of between Globe Life and Xcel Testing were not fully

disclosed to the SEC or state insurance departments either despite the intertwined nature

of their ownership interests in the two companies. Plaintiff discovered the amended

complaint in the New Jersey Litigation on March 3, 2020 after a representative of another

company in the same industry and with common interests with License Coach emailed

Mr. Brad LeBlanc of License Coach with an attachment which included the amended

complaint.   License Coach then began investigating the intertwined nature of the

ownership interests in Globe Life and Xcel Testing and obvious conflicts of interest.

       30.    Defendants engaged in a kick-back and bribery scheme wherein

Defendants, including Globe Life executives and SGAs, were making money up-front on

recruits whether the recruit eventually became an agent or not. These executives of Globe

Life, including, Gentile and Zophin forced SGAs to require their prospective new recruits

to purchase pre-licensing testing and training from an external company, Xcel Testing for

PLAINTIFF’S ORIGINAL PETITION                                                            14
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 19 of 33 PageID #: 29




$149. Xcel Testing kept $30 of that fee and kicked back the remaining $119 to Defendants

including Globe Life executives, such as Gentile and Zophin as well as SGAs, who

personally got a kick-back for every student who purchased pre-licensing testing and

training from Xcel Testing. Even if the recruit never became a licensed agent or if the

prospective agent never produced a single insurance sale, these executives and exclusive

agencies made money because they received kick-backs and bribes from the mandated

pre-licensed training required for the position. This agent churn was good for the insiders

of Globe Life who have had an undisclosed interest in Xcel Testing and were getting

kickbacks and bribes from Xcel Testing to personally enrich themselves. The kickback

and bribery scheme also benefitted Xcel Testing in allowing it to grow market share by

offering competitors cheaper pre-licensing testing and training. The kick-back and

bribery scheme began at American Income Life nationwide but was subsequently

expanded to all Torchmark and subsequently Globe Life insurance companies and/or

divisions under Gentile and Zophin’s direction.

       31.    On or about August 7, 2019, Torchmark Corporation becomes Globe Life

       Inc.

       32.    Defendants have actively engaged in a cover-up to hide the true ownership

of Xcel Testing from the public including state insurance regulators. Multiple Globe Life

executives and SGAs were secretly owners in Xcel Testing. Defendants Zophin (President

of American Income Life) and Gentile (Senior Vice-President of Recruiting for all Globe

Life f/k/a Torchmark) were both secretly owners of Xcel Testing as well as the principals

in several large SGAs of Globe Life. Globe Life executives and SGAs did not report their

ownership interest in the pre-licensing training vendor Xcel Testing and allowed Xcel

Testing to fraudulently submit applications to various state departments of insurance

PLAINTIFF’S ORIGINAL PETITION                                                           15
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 20 of 33 PageID #: 30




without disclosing such interests. Meanwhile Defendants, including Globe Life executives

and SGAs, were requiring new recruits to purchase training products from a vendor Xcel

Training, in which they personally owned an interest.

       33.    Globe Life’s exclusive distribution network recruits approximately 8,000

students monthly to become insurance agents. By exercising their power over Globe Life’s

exclusive distribution network, Defendants, including Globe Life executives and SGAs,

could charge above market prices to the captive recruits by requiring the pre-license

testing and training at an inflated cost as a condition for the job as an agent in the

insurance industry. Xcel Testing could then sell such training products at below cost in

the market to other third-party insurers in order to destroy competition and gain market

share to reach their goal of selling Xcel Testing for millions. For example, at the same

time that Xcel Testing was charging the exorbitant amount of $149 to Globe Life’s

prospective recruits, Xcel Testing was charging Globe Life’s competitors such as World

Financial Group (a Transamerica company) $19 for testing and training courses.

Subsequently, Xcel Testing returned to potential clients such as Globe Life’s competitors,

AFLAC and Banker’s Life, who had initially refused Xcel Testing’s highly discounted $19

testing and training and instead offered free pre-licensing testing and training courses for

6-12 months to switch to Xcel Testing. During a monthly pre-licensing review session with

Aflac executives and regional managers, declared that “Xcel is free and they removed all

hurdles for licensing, so they are vendor of choice.” In fact, the true fair market value of

the pre-licensing testing and training was probably approximately the $49 amount

charged by License Coach. Defendants, including Globe Life executives and SGAs, failed

to report that alternative vendors to Xcel Testing, provided similar, or superior, training

programs at 5-20% of the cost of Xcel Testing. This information was not provided to state

PLAINTIFF’S ORIGINAL PETITION                                                            16
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 21 of 33 PageID #: 31




regulators because Defendants, including Globe Life executives and SGAs, were

personally splitting the difference between the $149 purchase price charged and the

actual $19 cost equaling a $130/per student kickback from Xcel Testing.

       34.     It has been estimated by a representative of Gentile and one of Globe Life’s

largest Exclusive Agencies that at least $43 million (excluding buyout $25-45 million) in

bribes and kickbacks were paid by Xcel Testing to personally enrich Defendants and select

Globe Life SGAs and to buy silence. As a result of the excessive, anticompetitive $149

price tag for the pre-licensing testing and training, the growth in insurance agent

development slowed precipitously which in turned slowed insurance policy sales growth

and revenue. For example, by the end of 2018 net agent growth at American Income Life

had risen by only 24 net agents over 3 years to 6,894 agents despite the earlier goal of

10,000 agents. This created an environment within Globe Life in which identifying

recruits to purchase pre-licensing testing and training was more profitable to the SGAs

than actually getting the recruits licensed and selling Globe Life financial products.

However, this environment in turn resulted in reduced revenues and stunted company

growth for Globe Life. The strategy was to gain market share and then sell Xcel Testing

in which case the stock owned by insiders would be worth millions. In fact, in August

2018, Xcel Testing was purchased by Colibri Group for a reported $25-50 Million Dollars.

After the sale of Xcel Testing to Colibri, Gentile and Zophin retained the tradition of bribes

and kickbacks as well as licensing fraud to continue to profit and obtain holdback

proceeds in order to keep the recruit numbers high until Colbri (Xcel) was sold to Gridion

Capital, LLC on May 2, 2019.

       35.    Globe Life selected Xcel Testing as its preferred pre-licensing training and

testing provider despite knowing that Xcel Testing was non-compliant with multiple state

PLAINTIFF’S ORIGINAL PETITION                                                              17
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 22 of 33 PageID #: 32




regulators including, without limitation, Florida, California, Washington, Illinois and

Minnesota. Xcel Testing’s non-compliance included allowing students to unlawfully

complete or circumvent entirely the pre-licensing educational requirements of various

jurisdictions.

       36.       For   example,   the   California   Department     of   Insurance   brought

“Accusations” against Xcel Testing (the “California Department of Insurance Action”)

concerning Xcel Testing’s certification as a pre-licensing education provider under the

California Code. The allegations generally involved a) Xcel Testing’s failure to enforce

regulatory statutes for pre-licensing training which allowed Xcel Testing students to by-

pass the state required 32- or 52-hour training requirements; b) Xcel Testing intentionally

misled the Department of Insurance about system functionality and c) intentionally filed

falsified information and data to the Department of Insurance. After conducting an audit

and investigation of Xcel’s education provider activities as well as interviews of Xcel’s

executives. “The Department’s investigation revealed that XCEL allows students to

complete and receive a Certificate of Completion with less than the minimum number of

study hours” and found that “XCEL violated the following CCR Sections:

       a.        Section 2188.2.5 subdivision (a)(2), which requires XCEL to include a

                 methodology in the online course to ensure that students cannot complete

                 the course in less time than the minimum period.

       b.        Section 2188.5.5, subdivision (a)(1) and (b), which require XCEL to verify

                 that a student was actively engaged in one hundred percent of an online

                 prelicensing course and completed the total number of required training

                 hours.



PLAINTIFF’S ORIGINAL PETITION                                                              18
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 23 of 33 PageID #: 33




      c.     Section 2188.2.5, subdivision (a)(3)(D), which requires XCEL to include an

             electronic component that logs the student out of the course after a period

             of inactivity of twenty minutes, requiring the student to log back and re-

             enter the course”

Based upon an additional lengthy list of Statutory Violations, the Department found,

among other things, that a) “XCEL is not of good business reputation”; b) “XCEL is

lacking in integrity”; (c) “XCEL knowingly, willfully, or recklessly made” misstatements

in applications to the Commissioner; d) “XCEL has previously engaged in a fraudulent

practice or act or has conducted business in a dishonest matter” and e) XCEL has shown

incompetency or untrustworthiness in the conduct” of business. Based partly on the

foregoing, the Department recommended Discipline including rescinding the

Department’s approval of XCEL as a prelicensing educational provider. License Coach

first discovered the allegations and disclosures in the California Department of Insurance

Action in or about 2019 when License Coach’s founder was subpoenaed to appear in the

California Department of Insurance Action. However, at the time of the subpoena License

Coach had not discovered the intertwined nature of their ownership interests in the two

companies, Globe Life and Xcel Testing and obvious conflicts of interest.

      37.    After on or about March 3, 2020, License Coach discovered that Globe Life

Executives and SGAs were personally receiving cash kickbacks and bribes for each new

agent recruit that purchased pre-licensing testing and training products from Xcel

Testing. The prior RFP on or about May 2017 had simply been a sham to create the façade

of “best practices” and “fair-dealing” while the pre-determined winner of the RFP would

be Xcel Testing which was the vendor in which these Defendants, including Globe Life

executives and SGAs, had a financial ownership stake. The goal and purpose of the RFP

PLAINTIFF’S ORIGINAL PETITION                                                             19
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 24 of 33 PageID #: 34




was simply to induce License Coach allow Xcel Testing, by and through Gentile, to

wrongfully gain access, by restricted password, to License Coach’s confidential and

proprietary material and information for the use and benefit of its competitor Xcel

Testing.

      38.    One SGA reportedly made approximately $25,000 in kickbacks and bribes

per month from Xcel Testing. Xcel Testing allows the SGA to keep all pre-licensing testing

and training fees collected over a $6,000 per month threshold. For example, in an average

month, the SGA recruits 208 prospects and charges $149.99 per student resulting in total

pre-licensing revenue for the month of $31,197.92. After subtracting the $6,000

threshold, Xcel Testing sends the SGA a check in the amount of $25,197.92 for a single

month of kickbacks and bribes.

      39.    Further, Defendants, including Globe Life executives and SGAs, used their

positions at Globe Life to prevent other vendors from competing with the same vendor,

Xcel Testing, in which they had an ownership interest. Further, Defendants, including

Globe Life executives and SGAs, threatened to destroy vendors who participated into the

Xcel Testing investigations performed by various state departments of insurance.

      40.    Xcel Testing intentionally promoted pre-licensing fraud as a competitive

advantage. While on stage at a AFLAC national convention, an Xcel representative

exclaimed, “other providers will not tell you this, but you can cheat your way through

Xcel’s course.” Xcel Testing helped produce a YouTube video that detailed how a student

could cheat their way through an Xcel course, and by-pass state regulations on pre-

licensing requirements. One Xcel Testing representative acknowledged “We know they

[ie students] are cheating, but we’re going to get while the getting’s good”. Also at the



PLAINTIFF’S ORIGINAL PETITION                                                          20
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 25 of 33 PageID #: 35




same convention and on other occasions, Xcel Testing stated, “We’re going to put License

Coach out of business”.

       41.    All conditions precedent to License Coach’s right of recovery for the claims

asserted herein have occurred, have been waived, or have been excused.

                              FIRST CAUSE OF ACTION
                              Breach of Fiduciary Duty

              42.    License Coach incorporates herein by reference the allegations

contained above as if fully set forth herein.

       43.    At all times relevant to this lawsuit, License Coach and Defendants were

engaged in a confidential relationship.         License Coach revealed trade secrets and

confidential information and materials to Defendants during the course of contractual

negotiations of an agreement pursuant to the Torchmark RFP. The trade secrets and

confidential information and materials were disclosed to Defendants in confidence and

solely for the purpose of aiding and enabling Defendants to appraise the value and utility

of License Coach’s product. Defendants knew or should have known that License Coach

was trying to sell its products to Defendants for the mutual benefit and business

advantage of both License Coach and Defendants. Since Defendants knew or should have

known that License Coach disclosed its trade secrets and confidential and proprietary

information and materials in confidence during contractual negotiations, the law

recognizes the existence of a confidential relationship between License Coach and

Defendants.

       44.    Notwithstanding its fiduciary duties and obligations, Defendants chose to

advance their own business interests, as well as the business interests of third parties,

including License Coach’s competitors, at the expense of License Coach by


PLAINTIFF’S ORIGINAL PETITION                                                          21
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 26 of 33 PageID #: 36




misappropriating License Coach’s trade secrets and confidential and proprietary

information and materials for its own use and benefit.

        45.   Defendants’ acts and omissions constitute a breach of their fiduciary duties

owed to License Coach pursuant to the confidential relationship among them.

       46.    As a result of the foregoing breaches of fiduciary duties, License Coach has

been damaged in an amount within the jurisdictional limits of the Court, for which

License Coach now sues Defendants, together with prejudgment interest thereon, post-

judgment interest, and costs of Court.

       47.    Defendants acted fraudulently, with malice, intentionally and with the

specific intent to harm License Coach. As a result, pursuant to Tex. Civ. Prac. & Rem. C.

Sec. 41.003, License Coach is entitled to recover exemplary damages of and from the

Defendants in an amount in accordance with Tex. Civ. Prac. & Rem. C. Sec. 41.008 from

each of the Defendants.

                        SECOND CAUSE OF ACTION
       Misappropriation and Violations of Texas Uniform Trade Secrets Act
        Ch. 134A Tex. Civ. Prac. Rem. C. (“TUTSA”) (All Defendants)

       48.     License Coach incorporates herein by reference the allegations contained

above as if fully set forth herein.

       49.    License Coach brings this action pursuant to the Texas Uniform Trade

Secrets Act, as set forth in Chapter 134A of the Texas Civil Practice & Remedies Code.

       50.    The confidential and proprietary information and materials accessed by

Defendants constitute “trade secrets” pursuant to Tex. Civ. Prac. & Rem C. Sec.

134A.002(6). License Coach derives independent economic value from its confidential

information and trade secrets and entrusted this information to Defendants.



PLAINTIFF’S ORIGINAL PETITION                                                            22
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 27 of 33 PageID #: 37




       51.    License Coach is the “owner” of the trade secrets pursuant to Tex. Civ. Prac.

& Rem. C. Sec. 134A.002(3-a) in that License Coach is the entity in which rightful, legal,

or equitable title to, or the right to enforce rights in, the trade secrets are reposed.

       52.    Further, the confidential and proprietary information and materials are not

generally known, or readily ascertainable by proper means, by independent investigation

by the general public or persons who could wrongfully obtain economic value from their

disclosure. For example, the trade secrets include certain databases that can be used to

extract data and prepare reports which are specific and unique to certain customers,

students, time periods and states or jurisdictions.

       53.     License Coach took reasonable steps to keep its information secret by

limiting the disclosure of such information only to those with a legitimate business right

and need to know, requiring its computers containing such information to be password

protected, and through a variety of additional methods.

       54.    Defendants misappropriated License Coach’s trade secrets by breaching

their duties to maintain confidentiality, secrecy and strictly limited use of the information

including, without limitation:

              (A)     acquisition of License Coach’s trade secrets by a person who knew or

                      had reason to know that the trade secrets were acquired by improper

                      means; or

              (B)     disclosure or use of the License Coach’s trade secrets without the

                      express or implied consent of License Coach by a person who:

                      (i)    used improper means to acquire knowledge of the trade

                             secrets;



PLAINTIFF’S ORIGINAL PETITION                                                              23
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 28 of 33 PageID #: 38




                     (ii)    at the time of the disclosure or use, knew or had reason to

                             know that the person’s knowledge of the trade secrets was:

                             (a)    derived from or through a person who used improper

                                    means to acquire the trade secrets;

                             (b)    acquired under circumstances giving rise to a duty to

                                    maintain the secrecy of or limit the use of the trade

                                    secrets; or

                             (c)    derived from or through a person who owed a duty to

                                    the person seeking relief to maintain the secrecy of or

                                    limit the use of the trade secret; or

                     (iii)   before a material change of the position of the person, knew

                             or had reason to know that the trade secrets were trade secrets

                             and that knowledge of the trade secrets had been acquired by

                             accident or mistake.


With regard to Tex. Civ. Prac. & Rem. C. Sec. 134A.(A) and (B)(i) and (ii)(a) above,

“Improper means” includes theft, bribery, misrepresentation, breach or inducement of a

breach of a duty to maintain secrecy, to limit use, or to prohibit discovery of a trade secret,

or espionage through electronic or other means. Tex. Civ. Prac. & Rem. C. Sec. 134A.002.

       55.    Defendants’ misappropriation of the confidential and proprietary trade

secrets of License Coach has injured License Coach and caused License Coach to suffer

damages in an amount within the jurisdictional limits of the Court, for which amounts

License Coach now sues Defendants, jointly and severally, together with prejudgment

interest thereon at the highest lawful rate, post-judgment interest at the legal rate and


PLAINTIFF’S ORIGINAL PETITION                                                               24
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 29 of 33 PageID #: 39




costs of Court. License Coach is entitled to recover damages including both the actual loss

caused by the misappropriation and the unjust enrichment caused by misappropriation

that is not taken into account in computing actual loss. Alternatively, License Coach may

recover damages caused by misappropriation measured by the imposition of liability for

a reasonable royalty for a misappropriator’s unauthorized disclosure or use of a trade

secret. See Tex. Civ. Prac. & Rem. C. Sec. 134A.004(a)

       56.    Defendants willfully and maliciously misappropriated License Coach’s

trade secrets entitling License Coach to exemplary damages in an amount not exceeding

twice any award of damages. See Tex. Civ. Prac. & Rem. C. Sec. 134A.004(b).

       57.    Defendants' use of Plaintiff's confidential, trade secret, and proprietary

information has irreparably damaged, and will continue to irreparably damage, Plaintiffs

in an amount within the jurisdictional limits of the Court. Such misappropriation has

personally benefited Defendants. Based on Defendants' misappropriation of this

information, Plaintiffs seek all actual damages, including Defendants' unjust enrichment,

resulting from the misappropriation, as well as exemplary damages. Additionally,

Plaintiffs also ask that the Court disgorge any profits obtained by Defendants as a result

of the misappropriation and provide such profits to Plaintiffs.

                               THIRD CAUSE OF ACTION
                                       Fraud

       58.    License Coach incorporates herein by reference the allegations contained

above as if fully set forth herein.

       59.    Defendants made representations to License Coach which were material

and false. When Defendants made these representations, Defendants either: (1) knew




PLAINTIFF’S ORIGINAL PETITION                                                           25
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 30 of 33 PageID #: 40




the representations were false; or, (2) made the representations recklessly, as a positive

assertion, and without knowledge of their truth.

       60.    Defendants gained knowledge of License Coach’s trade secrets and

confidential and proprietary information and materials through fraud, deceit and

deceptive acts. Defendants intentional and knowing (a) use of License Coach’s trade

secrets and confidential and proprietary information and materials and (b)

misappropriating them for (i) their own business use, benefit and advantage, or (ii) for

the business use, benefit and advantage of third parties, including License Coach’s

competitors, constitutes fraud.

       61.    Defendants made the representations with the intent that License Coach

act on them, and License Coach relied on the representations to its detriment.

       62.    Defendants’ misrepresentations caused License Coach injury.

       63.    As a result of Defendants conduct, Defendants have proximately caused

actual and consequential damages to License Coach in an amount within the

jurisdictional limits of the Court.

       64.    Defendants acted fraudulently, with malice, intentionally and with the

specific intent to harm License Coach. As a result, pursuant to Tex. Civ. Prac. & Rem. C.

Sec. 41.003, License Coach is entitled to recover exemplary damages in an amount in

accordance with Tex. Civ. Prac. & Rem. C. Sec. 41.008 from each of the Defendants.

                             FOURTH CAUSE OF ACTION
                                   Conspiracy

       65.    License Coach incorporates herein by reference the allegations contained

above as if fully set forth herein.




PLAINTIFF’S ORIGINAL PETITION                                                           26
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 31 of 33 PageID #: 41




       66.    Defendants engaged in a combination or conspiracy seeking to accomplish

an object of misappropriating, defrauding and/or breaching their fiduciary duties to

License Coach with respect to the trade secrets and confidential and proprietary

information and materials of License Coach.

       67.    Defendants had a meeting of the minds on this object and course of action.

Each Defendant committed unlawful, overt acts by openly, actively, and improperly

conspiring and combining together to disclose and use Plaintiffs' trade secrets and

confidential and proprietary information and materials for their own use and benefit, and

the use and benefit of third parties including License Coach’s competitor Xcel Testing.

       68.    Upon information and belief, Defendants committed unlawful, overt acts

by obtaining and/or disclosing License Coach’s trade secrets and confidential and

proprietary information a n d m a t e r i a l s    for improper purposes and without

License Coach’s consent. Such acts were to benefit Defendants.

       69.    License Coach suffered injury and damage as a proximate result of

Defendants' actions. Actual damages resulting from the conspiracy are not subject to

precise calculation at this time but are in excess of the minimum jurisdictional limits of

this Court.

                                      ATTORNEYS FEES

       70.    License Coach incorporates herein by reference the allegations contained

above as if fully set forth herein.

       71.    In accordance with Tex. Civ. Prac. & Rem. Code Sec. 38.001 et seq. and Sec.

134A.005, License Coach is further entitled to recover its reasonable and necessary

attorneys’ fees incurred in prosecuting this action.



PLAINTIFF’S ORIGINAL PETITION                                                             27
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 32 of 33 PageID #: 42




       72.    As a result of Defendants’ actions, License Coach has been required to

obtain legal counsel to bring this suit. License Coach is also entitled to recover additional

sums to compensate for the reasonable attorneys’ fees incurred in bringing this suit,

including the trial, post-judgment proceedings, successful appellate proceedings and

enforcement proceedings, for which amounts License Coach now sues Defendants, jointly

and severally.

       WHEREFORE, PREMISES CONSIDERED, License Coach requests that

Defendants be cited to appear and answer herein, and, that upon final hearing hereof,

License Coach have judgment against Defendants for the following:

              a.     Actual damages in an amount within the jurisdictional limits of the

                     Court;

              b.     Statutory damages including both the actual loss caused by the

                     misappropriation and the unjust enrichment caused by

                     misappropriation that is not taken into account in computing actual

                     loss. Alternatively, License Coach may recover damages caused by

                     misappropriation measured by the imposition of liability for a

                     reasonable royalty for a misappropriator’s unauthorized disclosure

                     or use of a trade secret. See Tex. Civ. Prac. & Rem. C. Sec.

                     134A.004(a);

              c.     Disgorgement damages;

              d.     Exemplary damages pursuant to Tex. Civ. Prac. & Rem. C. Sec.

                     41.003 in an amount to be determined by the trier of

                     fact;



PLAINTIFF’S ORIGINAL PETITION                                                             28
#1000820
Case 4:22-cv-00170-ALM Document 1-3 Filed 03/03/22 Page 33 of 33 PageID #: 43




           e.    Statutory exemplary damages pursuant to in an amount not

                 exceeding twice any award of damages for Defendants willfull and

                 malicious misappropriation. See Tex. Civ. Prac. & Rem. C. Sec.

                 134A.004(b);

           f.    Reasonable attorneys’ fees;

           g.    Costs of court;

           h.    Prejudgment and post judgment interest as allowed by law;

           i.    Such other and further relief to which License Coach may show itself

                 to be justly entitled.

                                          Respectfully submitted,

                                          FRIEDMAN & FEIGER, L.L.P.

                                                /s/ Richard W. Winn
                                          by: ______________________________
                                                Richard W. Winn
                                                State Bar No. 21779700
                                                rwinn@fflawoffice.com

                                          5301 Spring Valley Road, Suite 200
                                          Dallas, Texas 75254
                                          (972) 788-1400 (Telephone)
                                          (972) 788-2667 (Telecopier)

                                          And

                                          Anthony L. Vitullo
                                          FEE, SMITH, SHARP & VITULLO, LLP
                                          State Bar No. 20595500
                                          Three Galleria Tower
                                          13155 Noel Road, Suite 1000
                                          Dallas, Texas 75240
                                          (972) 934-9100 (phone)
                                          (972) 934-9200 (fax)
                                          lvitullo@feesmith.com

                                          ATTORNEYS FOR PLAINTIFF


PLAINTIFF’S ORIGINAL PETITION                                                     29
#1000820
